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               IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



VOTEAMERICA, et al.,
                                           Civil Action No.:
                Plaintiffs,                1:21-CV-1390-JPB

                  v.

BRAD RAFFENSPERGER, in his
official capacity as the Secretary of
State for the State of Georgia, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                Intervenor-Defendants.



   STATE DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

     Pursuant to Federal Rule of Civil Procedure 56, the State Defendants

respectfully request that the Court enter summary judgment in their favor on

each of Plaintiffs’ First Amendment claims.       As demonstrated in the

accompanying memorandum of law, Plaintiffs have failed to identify any

evidence showing that any of the statutory provisions they challenge

unconstitutionally burdens their First Amendment rights. In contrast, the
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State Defendants have presented overwhelming evidence showing that each

provision furthers a compelling State interest and responds directly to

concerns and confusion raised by voters about the activities of various groups,

including Plaintiffs themselves. Accordingly, summary judgment should be

entered for the State on all counts of Plaintiffs’ complaint.

      Respectfully submitted this 13th day of December, 2022.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(C).


                                    /s/Gene C. Schaerr
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